 Case: 1:20-cv-00292 Document #: 112 Filed: 04/28/22 Page 1 of 1 PageID #:788

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                               Eastern Division

Bradley Hamilton, et al.
                                                   Plaintiff,
v.                                                              Case No.: 1:20−cv−00292
                                                                Honorable Steven C. Seeger
Oswego Community Unit School District 308, et
al.
                                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, April 28, 2022:


       MINUTE entry before the Honorable Steven C. Seeger: After this Court entered its
Order, defense counsel contacted the Courtroom Deputy and explained that the re−filing
included redacted versions of the exhibits, as previously directed. The Court appreciated
the explanation (and quick response), and needs no other explanation. Mailed notice(jjr, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
